











Opinion issued November 13, 2008
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In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00802-CV




IN RE RONALD R. PATE, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Ronald R. Pate, seeks mandamus
relief to instruct the trial court to vacate its August 7, 2008 final judgment.    
We deny the petition for writ of mandamus.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Per Curiam
&nbsp;
Panel consists of Justices Jennings, Hanks, and Bland.      


